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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
 v.                                                   §              NO. 1:03-CR-232-11
                                                      §
 JOHN DARRELL GORDON                                  §

                     ORDER ADOPTING THE MAGISTRATE JUDGE'S
                         REPORT AND RECOMMENDATION

        The court referred a petition alleging violations of supervised release conditions to the

 Honorable Zack Hawthorn, United States Magistrate Judge, at Beaumont, Texas, for consideration

 pursuant to applicable laws and orders of this court. The court has received and considered the

 Report of the United States Magistrate Judge filed pursuant to such order, along with the record,

 pleadings and all available evidence.

        At the close of the revocation hearing, the Defendant, defense counsel and counsel for the

 Government, each signed a standard form waiving their right to object to the proposed findings and

 recommendations contained in the magistrate judge’s report, consenting to revocation of supervised

 release, waiving his right to be present with counsel and to speak at sentencing, and imposition of

 the following sentence: a term of ten (10) months’ imprisonment with thirty-six (36) months of

 supervised release to follow.

        Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

 and the report of the magistrate judge is ADOPTED. It is therefore




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       ORDERED and ADJUDGED that the petition is GRANTED and the Defendant’s

 supervised release is REVOKED. Judgment and commitment will be entered separately, in

 accordance
         . with the magistrate judge’s recommendations.
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
        SIGNED at Beaumont, Texas, this 19th day of February, 2016.




                                       ________________________________________
                                                   MARCIA A. CRONE
                                            UNITED STATES DISTRICT JUDGE




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